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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 CAT’S MEOW OF VEGAS, LLC,                               Case No.: 2:20-cv-02055-APG-NJK

 4          Plaintiff                                    Order Setting Hearing on Motion for
                                                           Temporary Restraining Order
 5 v.
                                                                       [ECF No. 5]
 6 STATE OF NEVADA, et al.,

 7          Defendants

 8         I ORDER that the plaintiff’s motion for temporary restraining order (ECF No. 5) is set

 9 for a videoconference hearing on Tuesday, November 17, 2020, at 9:30 a.m. PST. No witness

10 testimony will be taken at that hearing. Details on how to access the hearing will be provided by

11 separate order.

12         I FURTHER ORDER that the defendants may file responses to the motion for temporary

13 restraining order by 12:00 noon on Friday, November 13, 2020.

14         I FURTHER ORDER the plaintiff to serve the complaint, the motion, and this order on

15 the defendants by email, fax, hand delivery, or other means to provide notice in adequate time to

16 allow them to respond and to attend the hearing. The plaintiff shall file proof of such service by

17 12:00 noon on Friday, November 13, 2020.

18         DATED this 9th day of November, 2020.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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